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AO 440 (Rev. 06/12) Summons in a Civil Action


                                     UNITED STATES DISTRICT COURT
                                                              for the
                                                   Southern District of New York

  RENELIO PEREZ, an individual Italian Citizen,                )
  and OLD MUSIC LIVE, a Polish limited liability               )
  company,                                                     )
                                                               )
                           Plaintijf(s)
                                                               )
                                                               )
                                v.                                      Civil Action No. 1:24-cv-01965
                                                               )
                                                               )
  RAUL ALEJANDRO OCASIO RUIZ (p/k/a                            )
  RAUW ALEJANDRO), an individual, and DOES                     )
  1-10,
                                                               )
                           Defendant(s)                        )

                                                   SUMMONS IN A CML ACTION

To·• (De1-fiendant's name and addressV
                                         RAUL ALEJANDRO OCASIO RUIZ (p/k/a RAUW ALEJANDRO)
                                         c/o Sensei Business Publishing LLC
                                         c/o Blilie Law
                                         Registered Agent, Jason Blilie
                                         235 Lincoln Road, Suite 310
                                         Miami Beach, FL 33139


          A lawsuit has been filed against you.

        Within 21 days after service of this summons on you (not counting the day you received it)-or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3)-you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are:
                                Albert J. Soler
                                Scarinci Hollenbck
                                519 8th Ave., 25th Floor
                                New York, NY 10018


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.


                                                                          CLERK OF COURT


Date:       03/18/2024                                                                        /S/ V. BRAHIMI
                                                                                    Signature of Clerk or Deputy Clerk
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 Civil Action No.

                                                       PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any) RAUL ALEJANDRO OCASIO RUIZ (pka RAUW ALEJANDRO:
 was received by me on (date)

           □ I personally served the summons on the individual at (place)
                                                                                on (date)                            ; or

           □ I left the summons at the individual's residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)    - - - - - - -
                                    -
                                                   , and mailed a copy to the individual's last known address; or

           □ I served the summons on (name of individual)                                                                     , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                            ; or

           □ I returned the summons unexecuted because                                                                             ; or

           0 Other (specify):



           My fees are$                            for travel and$                   for services, for a total of$          0.00


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server's signature



                                                                                        Printed name and title




                                                                                            Server's address

 Additional information regarding attempted service, etc:
